Case 4:24-cr-00127-P Document1 Filed 03/20/24 Pagelof4 PagelID1

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION CP COURT
SPP LLEGS OF TEXAS

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UNITED STATES OF AMERICA eee ial

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4-MJ-211 . AAD i
JULIO ADRIAN SANCHEZ (01) Sd
CUERK, US. DISTR Eo! aT
CRIMINAL COMPLAINT oe

I, the undersigned complainant, being duly sworn state the following is true and correct to
the best of my knowledge and belief:

Alleged Offense:

On or about March 15, 2024, in the Northern District of Texas, defendant Julio
Adrian Sanchez, an alien, was found in the United States having previously been
deported and removed from the United States on or about April 21, 2016, and he
had not received the consent of the Attorney General of the United States or the
Secretary of the Department of Homeland Security, to reapply for admission to the
United States, in violation of 8 U.S.C. § 1326(a) and (b)(1).

Probable Cause:

I, Miguel R. Miranda, Jr., being duly sworn, depose and swear the following information
is true and correct to the best of my ability. I am a Deportation/Task Force Officer (DO/TFO)
with the Department of Homeland Security, Immigration and Customs Enforcement (ICE)
Homeland Security Investigations (HSI), currently assigned to the HSI Dallas Gangs & Violent
Crimes — Dallas Task Force, with 7 years’ experience, duly appointed according to law and
acting as such.

1. This affidavit is made in support of a criminal complaint against Defendant Julio
Adrian Sanchez (Sanchez). The affiant has probable cause to believe that Sanchez is a

previously deported alien, who unlawfully returned to the United States in violation of 8 U.S.C.

Criminal Complaint — Page 1

Case 4:24-cr-00127-P Document1 Filed 03/20/24 Page2of4 PagelD 2

§ 1326(a) and (b)(1). Sanchez is an alien previously encountered by the DHS and/or legacy
INS. DHS therefore maintains an “Alien File” or ““A-file” for Sanchez that contains government
records and documentary evidence related to his citizenship, nationality, alienage, immigration
history, and any immigration applications submitted by him or on his behalf.

2. The statements in this affidavit are based on my personal knowledge and
experience, investigation of the facts, review of documents contained in the A-file assigned to
the defendant, information contained in DHS and law enforcement electronic databases, and
information provided to me by witnesses or other law enforcement officers. Because this
affidavit is being submitted for the limited purpose of establishing probable cause for a criminal
complaint, I have not included each and every fact known to me concerning this investigation. I
have set forth those facts that I believe are necessary to establish probable cause of a violation of
a federal criminal offense, specifically, 8 U.S.C. § 1326 (a) and (b)(1), Illegal Reentry After
Deportation.

3. Sanchez is a citizen and national of Mexico, born in Coahuila, Mexico. Sanchez
is not a citizen or national of the United States and does not have legal immigration status in the
United States.

4, On or about June 14, 2006, Sanchez was admitted to the United States at Dallas,
Texas as a legal permanent resident.

5. On or about July 7, 2008, Sanchez was convicted in the 396" Judicial District
Court at Tarrant County, Texas for the offense of felony possession of a controlled substance of

four (4) grams or more, but less than 200 grams, to wit: Cocaine.

Criminal Complaint — Page 2

Case 4:24-cr-00127-P Document1 Filed 03/20/24 Page3of4 PagelD 3

6. On or about November 21, 2010, Sanchez was encountered by ICE officials at or
near Dallas, Texas, following an arrest by the Fort Worth Police Department for the offense of
fail to identify.

7. On or about February 24, 2011, Sanchez was ordered removed from the United
States to Mexico by an immigration judge in Dallas, Texas.

8. On or about March 2, 2011, Sanchez was removed from the United States to
Mexico through Del Rio, Texas.

9, On or about March 14, 2016, Sanchez was encountered by ICE officials at or near
Brandon, Mississippi, following an arrest by the Pearl Police Department for the offense of
possession of marijuana in a vehicle and no driver license.

10. On or about March 14, 2016, Sanchez was issued and served a notice of
intent/decision to reinstate prior order of removal by immigration agents in Pearl, Mississippi.

11. On or about April 21, 2016, Sanchez was removed from the United States to
Mexico through Hidalgo, Texas.

12. On or about March 15, 2024, Sanchez came to the attention of ICE Agents in
Dallas, Texas, following an active investigation by the Alcohol, Tobacco, and Firearms (ATF)
special agents in Lubbock, Texas. During the investigation, ICE Agents were conducting
surveillance on social media and observed Sanchez, the user of the facebook account “Julio
Sanchez” post pictures and videos of himself with what appears to be a white SUV. ICE Agents
discovered the white SUV in the greater Fort Worth area, believed to be linked to Sanchez.

13. On or about March 15, 2024, ICE Agents located a white SUV at a residential
home located on Northwest 27" St. in Fort Worth, Texas. ICE Agents observed Sanchez exit

and enter the home on multiple occasions.

Criminal Complaint — Page 3

Case 4:24-cr-00127-P Document1 Filed 03/20/24 Page4of4 PagelD 4

14. ICE Agents were able to positively identify Sanchez based on the social media
photos and previous jail booking photographs associated with his prior immigration encounters.

15. Areview of automated immigration systems did not indicate that Sanchez ever
applied for or received permission from the United States Attorney General or the Secretary of
the Department of the Homeland Security to reenter the United States at any time after being
removed from the United States. Moreover, there is no indication that Sanchez applied for or
received a visa or permit or was paroled to enter the United States lawfully after his last removal
from the United States.

Based upon the above facts and circumstances, there is probable cause to believe that
Julio Adrian Sanchez, an alien illegally and unlawfully present in the United States, did

knowingly and unlawfully reenter into the United States after a prior removal, in violation of 8

U.S.C. § 1326(a) and (b)(1).

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MIGUEL MIRANDA \—
Deportation/Task Force Officer
Homeland Security Investigations

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SWORN AND SUBSCRIBED before me, at 10221 €Bx/pm, this" day of March 2024,
in Fort Worth, Texas.

JEFFRE .KCURETON
UNIT STATES MAGISTRATE JUDGE

Criminal Complaint — Page 4

